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 9
                               UNITED STATES DISTRICT COURT
10
                              SOUTHERN DISTRICT OF CALIFORNIA
11
12     STATE OF WASHINGTON, et al.,                      Case No.: 3:18-cv-01979-DMS
13                         Plaintiffs,
                                                         STATES’ RESPONSE TO
14     v.                                                DEFENDANTS’ SIXTH MOTION TO
                                                         EXTEND TIME TO FILE ANSWER
15     THE UNITED STATES OF AMERICA;
       DONALD TRUMP, in his official
16
       capacity as President of the United States
17     of America, et al.,
18                        Defendants.
19
20
                                          INTRODUCTION
21
22           The States object to Defendants’ most recent attempt to delay this case. See, e.g.,
23     ECF Nos. 92 (first motion to extend); 104 (second motion to extend); 107 (third motion to
24
       extend); 110 (fourth motion to extend); 122 (fifth motion to extend). Defendants, who filed
25
26     an untimely sixth request for extension late on the evening their answer was due, see ECF
27     No. 131, should be given a date certain to answer the States’ Complaint.
28

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 1                                            RESPONSE
 2
             Defendants’ sixth motion for additional time to answer the Complaint was filed at
 3
       6:48 pm the night their Answer was due. See ECF No. 131 (filed on March 18, 2019).
 4
 5     Contrary to Defendants’ suggestion, Motion at 2, the States were not informed of
 6
       Defendants’ intent to seek another extension until yesterday, March 18, 2019, the due date
 7
       for their response. Rather, Defendants inquired on Friday, March 15, 2019 over email
 8
 9     whether the States would object to a motion to bifurcate. On Monday, March 18, 2019,
10
       Defendants took the position that such a motion would automatically toll their time to
11
       respond to the Complaint, a position on which the parties disagree. It was only then that
12
13     Defendants raised the prospect of another extension for their Answer.
14
             The Motion should be denied. Defendants claim that they need another extension so
15
       that they can have their motion to bifurcate heard prior to the Answer due date. That motion
16
17     – a request to litigate this case piecemeal by filing sequential Rule 12 motions – is both
18
       highly unusual and fails to acknowledge this Court’s own process for Rule 12 motions.
19
       The States will address its lack of merit separately. As relevant here, however, the timing
20
21     of their sixth request to extend the Answer due date demonstrates a surprisingly casual
22
       disregard for Court deadlines and is a problem of Defendants’ own making. The States
23
       object to further delay.
24
25           Dated: March 19, 2019.
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 1                                DECLARATION OF SERVICE
 2
             I hereby certify that on March 19, 2019, I electronically filed the foregoing document
 3
       with the Clerk of the Court using the CM/ECF system, which will serve a copy of this
 4
 5     document upon all counsel of record.
 6
             DATED this 19th day of March, 2019.
 7
 8
                                              /s/ Laura K. Clinton
 9                                            LAURA K. CLINTON
                                              Assistant Attorney General
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